Case 3:08-cr-00056-GMG-RWT Document 237 Filed 08/04/15 Page 1 of 3 PageID #: 1652




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG

  MICHAEL JAY BRACKETT,

                Petitioner,
  v.
                                                   CIVIL ACTION NO. 3:15-CV-6
                                                   CRIMINAL ACTION NO. 3:08-CR-56
                                                   (BAILEY)
  UNITED STATES OF AMERICA,

                Respondent.

                 ORDER ADOPTING REPORT AND RECOMMENDATION

         On this day, the above-styled matter came before this Court for consideration of the

  Report and Recommendation of United States Magistrate Judge Robert W. Trumble [Doc.

  6]. Pursuant to this Court’s Local Rules, this action was referred to Magistrate Judge

  Trumble for submission of a proposed report and a recommendation (“R & R”). Magistrate

  Judge Trumble entered the R & R on July 1, 2015, wherein he recommends this Court

  dismiss the petitioner’s § 2255 petition with prejudice.

         Pursuant to 28 U.S.C. § 636 (b)(1)(c), this Court is required to make a de novo

  review of those portions of the magistrate judge’s findings to which objection is made.

  However, the Court is not required to review, under a de novo or any other standard, the

  factual or legal conclusions of the magistrate judge as to those portions of the findings or

  recommendation to which no objections are addressed. Thomas v. Arn, 474 U.S. 140,

  150 (1985). In addition, failure to file timely objections constitutes a waiver of de novo

  review and the right to appeal this Court's Order. 28 U.S.C. § 636(b)(1); see Snyder v.

  Ridenour, 889 F.2d 1363, 1366 (4th Cir. 1989); United States v. Schronce, 727 F.2d 91,

  94 (4th Cir. 1984). Here, objections to Magistrate Judge Trumble’s R & R were due within
Case 3:08-cr-00056-GMG-RWT Document 237 Filed 08/04/15 Page 2 of 3 PageID #: 1653




  fourteen (14) days of receipt, pursuant to 28 U.S.C. § 636(b)(1) and Fed. R. Civ. P. 72(b).

  The docket reflects that service was accepted on July 6, 2015. [Doc. 7]. No objections

  have been filed. Accordingly, this Court will review the R&R for clear error.

         The R&R recommends dismissal because it is an unauthorized second or

  successive petition. Pursuant to 28 U.S.C. § 2244 and 28 U.S.C. § 2255, this Court is

  without authority to hear petitioner’s second federal habeas petition without first seeking

  leave from the court of appeals. See United States v. Winestock, 340 F.3d 200, 207 (4th

  Cir. 2003).

         Upon careful review of the above, it is the opinion of this Court that the Report and

  Recommendation [Civ. Doc. 6, Crim. Doc. 235] should be, and is, hereby ORDERED

  ADOPTED for the reasons more fully stated in the magistrate judge’s report. Accordingly,

  this Court ORDERS that the petitioner’s § 2255 petition [Civ. Doc. 1, Crim. Doc. 207] be

  DENIED and DISMISSED WITH PREJUDICE. The petitioner may file a motion with the

  United States Court of Appeals for the Fourth Circuit for an order authorizing this Court to

  consider his application. Accordingly, the petitioner’s Motion to Seek Status of Motion

  under Title § 2255 [Crim. Doc. 232] is hereby DENIED AS MOOT. This Court further

  DIRECTS the Clerk to STRIKE this case from the active docket of this Court. As a final

  matter, upon an independent review of the record, this Court hereby DENIES the petitioner

  a certificate of appealability, finding that he has failed to make “a substantial showing of the

  denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to any counsel of record and
Case 3:08-cr-00056-GMG-RWT Document 237 Filed 08/04/15 Page 3 of 3 PageID #: 1654




  to mail a copy to the pro se petitioner.

         DATED: August 4, 2015.
